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AO 455 (Rev. 01/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                           for the
                                                  SouthernDistrict
                                              __________   Districtofof__________
                                                                        Texas

                  United States of America                    )
                             v.                               )      Case No. 4:18-cr-502
                                                              )
            Northwest Houston Cardiology PA                   )
                             Defendant                        )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:     9/5/18
                                                                                         Defendant’s signature




                                                                                    Signature of defendant’s attorney



                                                                                Printed name of defendant’s attorney




                                                                                           Judge’s signature

                                                                      Dena Hanovice Palermo US Magistrate
                                                                      Judge    Judge’s printed name and title
